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KEVIN PEREZ; DWAYNE BOWEN; REYNALDO                SUPERIOR COURT OF NEW JERSEY
DEJESUS; KELVIN JONES; TIMOTHY MCNEILL;            LAW DIVISION: UNION COUNTY
SCOTT BRUNSON; JERMAINE BENDERS;                   DOCKET NO:
GEORGE BOSCH; ROBERTO COSME; KYLE
JOBES; JACQUES MANN; AMIR MUHAMMAD;
EDWIN NUNEZ; JOEL RIOS; ANTHONY BRUNO
and GREGORY LINDSEY,                               CIVIL ACTION


                      Plaintiffs,
       v.



CLEAN VENTURE, INC. d/b/a ACV ENVIRO CV,           COMPLAINT AND JURY DEMAND
and ACV ENVIRO 1045 RE LLC; ACV ENVIRO
CORPORATION; CORPORATIONS 1-10; JOHN
DOES 1-10,

              Defendants.


       Plaintiffs, by and through their counsel, by way of Complaint against Defendants Clean

Venture Inc. d/b/a ACV ENVIRO CV and ACV ENVIRO 1045 RE, LLC; ACV Enviro Corporation;

Corporations 1-10; and John Does 1-10, hereby state and allege as follows:

                                       INTRODUCTION

       1.     Plaintiff Kevin Perez is a New Jersey resident currently residing at 440 Gawron

Court, Parlin, New Jersey 08859.
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       2.      Plaintiff Dwayne Bowen is a New Jersey resident currently residing at 302 East

4th Street, Plainfield, New Jersey 07060.

       3.      Plaintiff Reynaldo DeJesus is a New Jersey resident currently residing at 624

Dorothy Lane, Landing, New Jersey 07850.

       4.      Plaintiff Kelvin Jones is a New Jersey resident currently residing at 15 Elliott

Place, East Orange, New Jersey 07018.

       5.      Plaintiff Timothy McNeill is a New Jersey resident currently residing at 482

Seminary Avenue, Rahway, New Jersey 07065.

       6.      Plaintiff Scott Brunson is a New Jersey resident currently residing at 2 Plymouth

Drive, Whiting, New Jersey 08759.

       7.      Plaintiff Jermaine Benders is a New Jersey resident currently residing at 17

Bamford Place, Irvington, New Jersey 07111.

       8.      Plaintiff George Bosch, Jr., is a New Jersey resident currently residing at 375 N

11th St., Newark, New Jersey 07107.

       9.      Plaintiff Roberto Cosme is a New Jersey resident currently residing at 853

Summer Avenue, Newark, New Jersey 07104.

       10.     Plaintiff Kyle Jobes is a New Jersey resident currently residing at 44 Windsor

Drive, East Brunswick, New Jersey 08816.

       11.     Plaintiff Jacques Mann is a New Jersey resident currently residing at 251 Franklin

Street, Apt. 4, Elizabeth, New Jersey 07206.

       12.     Plaintiff Amir Muhammad is a New Jersey resident currently residing at 2038 Kay

Avenue, Union, New Jersey 07083.


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       13.     Plaintiff Edwin Nunez is a New Jersey resident currently residing at 152 Prospect

Ave., Bayonne, New Jersey 07002.

       14.     Plaintiff Joel Rios is a New Jersey resident currently residing at 465 W. 1st Ave.,

Roselle, New Jersey 07203.

       15.     Plaintiff Anthony Bruno is a New Jersey resident currently residing at 19 South

5th Street, Elizabeth, New Jersey 07206.

       16.     Plaintiff Gregory Lindsey is a New Jersey resident currently residing at 585

Perchuk Lane, Jackson, New Jersey 08527.

       17.     Defendant Clean Venture, Inc. (“CVI”) is a for-profit corporation organized and

existing under the laws of the State of New Jersey, with its principal place of business at 201

South First Street, Elizabeth, New Jersey 07206.

       18.     CVI has at all relevant times engaged in the business of industrial,

environmental, and hazardous waste containment and removal services, including for large

scale construction projects.

       19.     Upon information and belief, ACV Enviro Corporation (“ACV”) was formed in or

about 2015 through the merger of multiple entities, including CVI, by the private equity firm

Kinderhook Industries (“Kinderhook”).

       20.     Upon information and belief, Kinderhook created ACV after purchasing multiple

entities in the industrial, environmental, and hazardous waste containment and removal field

(including CVI, Cycle Chem, Inc., and Allstate Power Vac, Inc.) and merging their operations

together. According to Kinderhook’s website, ACV now operates as a “portfolio company” of

Kinderhook.


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       21.     ACV maintains its principal place of business at 1500 Rahway Avenue, Avenel,

New Jersey 07001.

       22.     Upon information and belief, ACV ENVIRO 1045 RE LLC and ACV ENVIRO CV are

either successor corporations to, or co-employers with, ACV and CVI with respect to the

employment of each of the Plaintiffs.

       23.     Each of the Plaintiffs in this action are either current or former employees of CVI,

ACV, ACV ENVIRO CV and/or ACV ENVIRO 1045 RE, LLC (collectively the “Defendants”).

       24.     Plaintiffs bring this action against Defendants for failure to pay prevailing wages

as required under the: (1) New Jersey Prevailing Wage Act, N.J.S.A. 34:11–56.25, et seq.; (2)

Prevailing Wage for Construction Work On A Public Utility, N.J.S.A. 34:13B–2.1 and N.J.S.A.

34:13B–16; and (3) Prevailing Wage Requirement, Construction Undertaken with BPU Financial

Assistance, N.J.S.A. 48:2–29.47 (collectively, the “N.J. Prevailing Wage Statutes”).

       25.     Plaintiffs further bring this action against Defendants for breach of contract, for

Defendants’ failure to pay Plaintiffs’ wages consistent with contracted rates on certain projects

in New York State.

       26.     Plaintiffs further bring this action against Defendants for failure to pay their

overtime wages properly, pursuant to the: (1) New Jersey Wage Payment Law, N.J.S.A. 34:11–

56a4 and N.J.A.C. 12:56–13.3; and (2) Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).

                               PREVAILING WAGE ACT PROJECTS

       27.     Plaintiffs worked for ACV/CVI in a variety of roles and positions throughout their

employment, including but not limited to working as laborers, machine operators and drivers,




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technicians, and hands-on supervisors. Plaintiffs were paid at rates varying between $11.00 and

$30.00 per hour.

         28.   At times during their employment, Plaintiffs worked on various projects for

Defendants pursuant to contracts with contractors that qualified as public entities or public

bodies, within the meaning of the N.J. Prevailing Wage Statutes.

         29.   Upon information and belief, Plaintiffs worked on projects and/or jobs that were

paid for using public funds and/or were performed on public property or premises (“Prevailing

Wage Jobs”).

         30.   Upon information and belief, these projects were awarded to Defendants

ACV/CVI after the successful submission of a contract bid, which bid included wage rates that

Defendants ACV/CVI committed to paying their workers should they be awarded and perform

the contract. Plaintiffs were the intended third-party beneficiaries of these contracts.

         31.   The work that Plaintiffs performed on these Prevailing Wage Jobs included:

operating heavy machinery (such as vacuum or “guzzler” trucks; operating “jet rodder” trucks;

operating liquid trucks); operating light machinery (operating a pressure washer); driving

(delivering materials to work sites; hauling waste from work sites); and performing incidental

manual labor (coiling and uncoiling vacuum hoses; using wrenches, shovels, pry bars, saws, etc.,

as the needs arose).

         32.   The work that Plaintiffs performed on these Prevailing Wage Jobs qualified their

roles or positions as crafts/trades pursuant to Regulations from the New Jersey Department of

Labor.




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       33.     At times during their employment, at least some of Plaintiffs were paid rates

lower than the prevailing wage, despite performing work for which they should have received

the prevailing wage.

                                        PSE&G PROJECTS

       34.     On each of the various Prevailing Wage Jobs, Plaintiffs performed similar work

involving industrial, environmental, and hazardous waste containment and removal services.

       35.     On each of the various Prevailing Wage Jobs Plaintiffs were entitled to receive

prevailing wage for this work but were improperly paid lower wages.

       36.     For example, Defendants assigned Plaintiffs to work on Prevailing Wage Jobs for

PSE&G.

       37.     Defendants paid at least some of Plaintiffs at their then-regular rate of pay for

work performed for PSE&G on these Prevailing Wage Jobs, despite being entitled to receive a

higher prevailing wage pursuant to the N.J. Prevailing Wage Statutes and/or the contracts

Plaintiffs were performing under.

       38.     PSE&G is a public utility electricity and gas company that is regulated by the New

Jersey Public Utility Commission under the provisions of Title 48 of the New Jersey Revised

Statutes.

       39.     After Hurricane Sandy, PSE&G sought and ultimately obtained Public Utility

Commission approval in 2014 for a $1.22 billion project known as the Energy Strong Program

for the upgrading of PSE&G’s electrical and gas infrastructure across the State.

       40.     The Public Utility Commission formally issued its Order Approving Stipulation of

Settlement of the PSE&G Energy Strong Program effective May 23, 2014, allowing PSE&G to


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raise the Program monies through a series of rate hikes and increases on New Jersey resident

customers.

       41.      More specifically, the Energy Strong Program, as approved by the Commission,

authorized PSE&G to spend the approved monies on the demolition, reconstruction and

upgrading of PSE&G’s New Jersey electrical facility switching stations, included, but not limited

to, sites where at least some of Plaintiffs performed work without receiving prevailing wage.

       42.      PSE&G's own literature regarding the Energy Strong Program states that the

utility “put thousands of skilled contractors and laborers to work” at its facilities.

       43.      This work included the wholesale demolition of existing large electrical power

transformers installed at PSE&G facilities and the construction of new, larger replacement

transformers.

       44.      These electrical transformer structures each contain thousands of gallons of

transformer oil necessary for the operation and insulation of the structures.

       45.      Accordingly, emptying the transformer oil tank, including the contemporaneous

containment and removal of any spillage or contaminated soil, water, or other material is an

essential step in the demolition and retirement of a transformer.

       46.      Likewise, the act of filling a new transformer’s tank with thousands of gallons of

oil, and all associated contemporaneous environmental containment and removal work, is an

essential step in installing a new transformer and in the construction of an electrical system.

       47.      At all relevant times, PSE&G retained, used, and employed Defendants as

contractors in providing transformer oil removal, contemporaneous environmental

containment, and contaminated and hazardous material disposal work that was part of the


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deconstruction and construction of electrical transformers at PSE&G switching station facilities

in New Jersey.

        48.      Each of the Plaintiffs was assigned by Defendants to work as, respectively,

laborers, machine operators and drivers, technicians, and hands-on supervisors engaging in the

on-site work of pumping transformer oil, monitoring, containing, storing, and ultimately

removing oil, soil, water, and other pollutants and contaminants from within and underneath

the transformers.      This work was performed with the use of equipment and machinery

including (but not limited to) containment units, vac-trucks, frack-tanks, roll frames, rack trucks,

box trucks, skid steers, berms, submersible pumps, drums, and water blasters.

        49.      Likewise, Plaintiffs were on-site during the construction and installation of new

transformer structures to provide environmental watch and containment for the transformer

structures as they were being installed, and to remove any and all water, soil, transformer oil,

or contaminants occasioned by the installation/construction.

        50.      Plaintiffs’ hours and work performed at PSE&G sites were documented on

time/work sheets that were submitted to Defendants’ management/payroll, and which were

used by Defendants to invoice and charge PSE&G for the work performed. Upon information

and belief, all such time/work sheets and related PSE&G work documentation have been

maintained by Defendants in accordance with regulatory requirements and by PSE&G as well.

        51.      With respect to their work at PSE&G facilities, Plaintiffs were at all relevant times

engaged in “construction work on a public utility” as defined in N.J.S.A. 34:13B–16, as their

work involved and was connected to construction, reconstruction, installation, demolition,

restoration and alterations of facilities of a public utility.


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       52.     The Plaintiffs were at all relevant times entitled to be paid prevailing wage rates

by Defendants for their work as laborers, machine operators and drivers, technicians, and

hands-on supervisor at PSE&G facilities.

       53.     Defendants at all relevant times failed to pay Plaintiffs the prevailing wage rates

and supplements to which the Plaintiffs were entitled.

       54.     Plaintiffs seek to recover the prevailing wages and supplements to which they

were entitled under the N.J. Prevailing Wage Statutes but did not receive.

                                        CONTRACT PROJECTS

       55.     At times during their employment, Plaintiffs were assigned to work and did work

on projects in the State of New York, which work constituted “public work” within the

definition of N.Y. Lab. Law § 220(2).

       56.     Further, upon information and belief, Defendants assigned Plaintiffs to work on

these projects pursuant to contracts entered into between Defendants and various public

entities or bodies (or third-parties acting in place of, on behalf of, and for the benefit of such

public entity), including but not limited to: Amtrak; NYC Transit; MTA; ConEd; and, Westchester

County, N.Y. (hereinafter “Contract Projects”).

       57.     Pursuant to N.Y. Lab. Law § 220, et seq., Defendants were required to pay

Plaintiffs at prevailing wage rates for work performed on the Contract Projects.

       58.     Upon information and belief, Defendants entered into contracts to perform the

work of the Contract Projects with the various public entities or bodies (or third parties acting in

place of, on behalf of, and for the benefit of such public entity) contracting for the work and/or




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entered into contracts to perform the work of the Contract Projects which qualified as

municipal projects.

         59.   Upon information and belief, Defendants set forth wage rates that they would

pay their employees for performing the Contract Project work. These rates were consistent

with the required prevailing wage rates applying to such work under N.Y. Lab. Law § 220, et

seq.

         60.   As the ultimate recipients of the wage rates agreed to under these contracts,

Plaintiffs were the intended third-party beneficiaries of these contracts.

         61.   On each of the various Contract Projects, at least some of Plaintiffs performed

work for Defendants but were improperly paid lower wages than they were entitled to

pursuant to contract.

         62.   For example, Defendants assigned Plaintiffs to work on Contract Projects for the

National Railroad Passenger Corporation (“Amtrak”).

         63.   Amtrak was established and enacted by the United States Congress in 1970 and

is wholly owned and controlled by the U.S. Government.

         64.   Notwithstanding the Federal Government’s control of Amtrak, many of the

repair and maintenance projects undertaken on Amtrak facilities or equipment receive funding

from the State or locality where the project takes place.

         65.   Amtrak’s “Northeast Corridor Capital Investment Plan, Fiscal Years 2019–2023”

provides detailed breakdowns of the funding sources for various Amtrak repair and

maintenance projects and demonstrates that many projects undertaken on Amtrak facilities or

equipment are funded largely or entirely through State and Local funds.


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       66.     By way of example, the Capital Investment Plan identifies the $253.5 million

“Penn Station New York – LIRR Projects” as being funded entirely through “State/Local Funds”

(with $170 Million of the funding specifically identified as “MTA Capital Plan” funds).

       67.     Upon information and belief, Defendants contracted with Amtrak to perform

work on certain projects which were paid for using State and/or Local funds. Therefore, these

contracts were entered into “by a third party acting in place of, on behalf of and for the benefit

of such” public entities subject to N.Y. Lab. Law § 220(2).

       68.     Additionally, all contracts entered into between Defendants and Amtrak are for

the benefit of the state and local entities wherein the work takes place and thus is subject to

N.Y. Lab. Law § 220(2).

       69.     As with PSE&G above, at all relevant times, Plaintiffs were assigned by

Defendants to work at Amtrak facilities in New York and New Jersey to provide the

environmental containment, removal, and disposal services for construction projects including

the demolition of track and other railroad structures.

       70.     As with PSE&G above, Plaintiffs were assigned by Defendants to work as,

respectively, laborers, machine operators and drivers, technicians, and hands-on supervisors

engaging in the on-site work.

       71.     Specifically, Plaintiffs duties included, but were not limited to, emptying and

cleaning out tanks; power washing tanks and equipment; and removing debris, sediment, and

other waste material from Amtrak sites and disposing of it.




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        72.    As an additional example, Defendants assigned Plaintiffs to work on Contract

Projects for Consolidated Edison, Inc. and/or its subsidiaries, including Consolidated Edison

Company of New York, Inc. (hereafter collectively “ConEd”).

        73.    ConEd is one of the largest energy companies in the United States and is a major

provider of electric, gas, and steam service in New York City and Westchester County, New

York.

        74.    Upon information and belief, Defendants contracted with ConEd to perform

work on certain projects which were paid for using State and/or Local funds. Therefore, these

contracts were entered into “by a third party acting in place of, on behalf of and for the benefit

of such” public entities subject to N.Y. Lab. Law § 220(2).

        75.    Additionally, all contracts entered into between Defendants and ConEd are for

the benefit of the state and local entities wherein the work takes place and thus is subject to

N.Y. Lab. Law § 220(2).

        76.    For example, pursuant to ConEd Blanket Purchase Agreement 4103264 (“ConEd

BPA”), approved February 5, 2013, Defendants entered into a contract with ConEd to perform

flushing, cleaning, and waste product disposal work at ConEd’s subsurface electric distribution

structures throughout their territories of Bronx, Brooklyn, Manhattan, Queens, Staten Island,

Westchester, Orange, Rockland.

        77.    Pursuant to the ConEd BPA, Defendants agreed to pay their employees specified

rates for work performed on that project, which rates were substantially greater than the rates

Defendants paid Plaintiffs.




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       78.     As with PSE&G and Amtrak above, at all relevant times, Plaintiffs were assigned

by Defendants to work at ConEd facilities in New York to provide the environmental

containment, removal, and disposal services for construction and maintenance projects.

       79.     As with PSE&G and Amtrak above, Plaintiffs were assigned by Defendants to

work as, respectively, laborers, machine operators and drivers, technicians, and hands-on

supervisors engaging in the on-site work.

       80.     Specifically, Plaintiffs duties included, but were not limited to, opening manhole

covers; cleaning subsurface electric distribution structures and surrounding areas; vacuuming

out oils and heavy residue; power washing and cleaning surfaces; decontaminating and

remediating environmental contaminants; and removing debris, sediment, fluids, and other

waste material from ConEd sites and disposing of it.

       81.     Plaintiffs were at all relevant times entitled to be paid either prevailing or

contracted wage rates by Defendants for their work as laborers, machine operators and drivers,

technicians, and hands-on supervisors employed on the Contract Projects.

       82.     Defendants at all relevant times failed to pay Plaintiffs the prevailing or

contracted wage rates and supplements to which Plaintiffs were entitled in connection with the

Contract Projects.

       83.     Plaintiffs seek to recover the unpaid wages and supplements to which they were

entitled but did not receive.

                                      UNPAID OVERTIME

       84.     Throughout their employment, at least some of Plaintiffs were not paid overtime

wages that were due to them.


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       85.     For some of these Plaintiffs – including Plaintiffs Perez, Bowen, DeJesus, Jones,

McNeill and Brunson (hereinafter “Supervisor Plaintiffs”) – Defendants’ failed to properly pay

their overtime wages, consistent with Defendants’ “Supervisor Overtime Scheme.”

       86.     Pursuant to the Supervisor Overtime Scheme, Defendants only paid the

Supervisor Plaintiffs for hours worked in excess of 47.5 hours in a week.

       87.     Defendants explained this scheme by stating that the Supervisor Plaintiffs were

paid salary for the first 47.5 hours of the week and received overtime for hours worked in

excess of their salary hours.

       88.     Additionally, at times during their employment, at least some of Plaintiffs were

only paid overtime wages for hours worked prior to 6:00 a.m. or after 6:00 p.m. on any given

day. This meant that Plaintiffs would not receive overtime pay unless they worked hours before

6:00 a.m. or after 6:00 p.m., regardless of how many hours they worked between 6:00 a.m. and

6:00 p.m. during a given week.

       89.     Additionally, at times during their employment, at least some of Plaintiffs were

paid less than one and one-half (1.5) times their hourly rate of pay for overtime hours in certain

weeks, without explanation.

       90.     In or about 2018, some of the Supervisor Plaintiffs met with Matthew Ward, a

Vice President at the Company. During this meeting Mr. Ward told Plaintiffs something to the

effect that, contrary to the Company’s longstanding representations to Plaintiffs that they were

being paid a salary, Plaintiffs “are not salaried,” “should not be salaried,” and “should have

been 40-hour employees.”




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       91.     During this meeting, Mr. Ward represented to these Supervisor Plaintiffs

something to the effect that, if the Supervisor Plaintiffs were switched from salary to hourly,

“nothing will change. Hourly rates won’t change. Benefits won’t change.”

       92.     Thereafter, the Supervisor Plaintiffs began receiving overtime wages for hours

worked in excess of 40 hours each week.

       93.     However, contrary to Mr. Ward’s representations, Defendants artificially

reduced at least some of the Supervisor Plaintiffs’ hourly rates of pay.

       94.     According to statements made to some of the Supervisor Plaintiffs by Hugo

Ramos, a manager at the Company, the Company made the changes to reduce hourly rates in

order to offset the increased overtime payments they were making.

       95.     Likewise, according to statements made to some of Plaintiffs by Jason Wellins,

another manager at the Company, the Company made the changes to reduce hourly rates in

order to offset the increased overtime payments they were making.

       96.     As a result of these rate reductions, these Supervisor Plaintiffs’ wages remained

relatively static, with at least some of the Supervisor Plaintiffs receiving lower wages in a given

week than they had been received under the Company’s Supervisor Overtime Scheme.

       97.     Plaintiffs maintain that they are owed overtime pay and other unpaid wages.

                                          FIRST COUNT

                             FAILURE TO PAY PREVAILING WAGE
                          CONSTRUCTION WORK ON A PUBLIC UTILITY

       98.     Plaintiffs incorporates and restates each of the allegations contained in the

preceding paragraphs as if set forth at length herein.



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        99.      Defendants violated N.J.S.A. 34:13B–2.1 and 34:13B–16 by failing to pay

Plaintiffs the required and proper prevailing wage rates to which they were entitled for work at

facilities of public utilities.

        100.     As a result, Defendants are liable to Plaintiffs for all unpaid and due prevailing

wages to which Plaintiffs are entitled.

        WHEREFORE, Plaintiffs demand the following damages and relief:

        a.       Judgment in favor of the Plaintiffs;

        b.       Compensatory damages for all unpaid prevailing wages and supplements;

        c.       Appropriate and/or statutory interest;

        d.       Attorneys' fees;

        e.       Costs of suit;

        f.       Any other relief that this Court deems just and equitable.

                                           SECOND COUNT

                  FAILURE TO PAY PREVAILING WAGE FOR CONSTRUCTION WORK
                        UNDERTAKEN WITH BPU FINANCIAL ASSISTANCE

        101.     Plaintiffs incorporate and restate each of the allegations contained in the

preceding paragraphs as if set forth at length herein.

        102.     Defendants also violated N.J.S.A. 48:2–29.47 by failing to pay Plaintiffs the

required and proper prevailing wages rates to which they were entitled for work at PSE&G

facilities with respect to the Energy Strong Program.

        103.     N.J.S.A. 48:2–29.47 provides that the “prevailing wage rate shall be paid to

workers in the performance of any construction undertaken in connection with Board of Public

Utilities financial assistance....”

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         104.   “Financial assistance” is further defined in the law as “any tax exemption,

abatement, or other incentive or any rebate, credit, loan, loan guarantee, expenditure,

investment, grant, incentive, or other financial assistance which is, in connection with

construction, approved, funded authorized, administered or provided by the Board of Public

Utilities...”

         105.   All construction, renovation and preparation work by and for PSE&G at its

facilities, as engaged in by the Plaintiffs, pursuant to the Energy Strong Program was approved

and authorized by the Board of Public Utilities.

         106.   As a financial incentive and/or assistance to PSE&G for its expenditures in

implementing and carrying out the Energy Strong Program, the Board of Public Utilities

authorized and agreed to grant and allow PSE&G certain rate hikes to which PSE&G would not

otherwise have been entitled.

         107.   Accordingly, the Plaintiffs were entitled to the prevailing wage rate with respect

to all work done by them at PSE&G facilities pursuant to the Energy Strong Program.

         108.   Likewise, Plaintiffs were entitled to be paid at the applicable prevailing wage

rates with respect to all work done by them at other projects and/or jobs that were paid for

with BPU financial assistance.

         109.   Defendants at all relevant times failed to pay Plaintiffs the prevailing wage rates

and supplements to which the Plaintiffs were entitled for such work.

         110.   As a result, Defendants are liable to Plaintiffs for all unpaid and due prevailing

wages to which Plaintiffs are entitled.

         WHEREFORE, Plaintiffs demand the following damages and relief:


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       a.      Judgment in favor of the Plaintiffs;

       b.      Compensatory damages for all unpaid prevailing wages and supplements;

       c.      Appropriate and/or statutory interest;

       d.      Attorneys' fees;

       e.      Costs of suit;

       f.      Any other relief that this Court deems just and equitable.

                                          THIRD COUNT

                    FAILURE TO PAY PREVAILING WAGE FOR PUBLIC WORK
                                N.J.S.A. 34:11–56.25, et seq.

       111.    Plaintiffs incorporate and restate each of the allegations contained in the

preceding paragraphs as if set forth at length herein.

       112.    Defendants also violated the New Jersey Prevailing Wage Act, N.J.S.A. 34:11–

56.25 et seq., by failing to pay Plaintiffs the required and proper prevailing wage rates to which

they were entitled for certain projects and/or jobs.

       113.    These projects and/or jobs were paid for using public funds and/or were

performed on public property or premises. Accordingly, these projects and/or jobs constituted

“public work” within the meaning of the Prevailing Wage Act.

       114.    Accordingly, Plaintiffs were entitled to receive prevailing wages for the work they

performed on the projects and/or jobs.

       115.    Defendants at all relevant times failed to pay Plaintiffs the prevailing wage rates

and supplements to which the Plaintiffs were entitled for such work.

       116.    As a result, Defendants are liable to Plaintiffs for all unpaid and due prevailing

wages to which Plaintiffs are entitled.

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         WHEREFORE, Plaintiffs demand the following damages and relief:

         a.     Judgment in favor of the Plaintiffs;

         b.     Compensatory damages for all unpaid prevailing wages and supplements;

         c.     Appropriate and/or statutory interest;

         d.     Attorneys' fees;

         e.     Costs of suit;

         f.     Any other relief that this Court deems just and equitable.

                                          FOURTH COUNT

                                      BREACH OF CONTRACT

         117.   Plaintiffs incorporate and restate each of the allegations contained in the

preceding paragraphs as if set forth at length herein.

         118.   Defendants entered into contracts with public entities (or with third parties

acting in place of, on behalf of, and for the benefit of such public entity) to perform work on

various projects, which work constituted “public work,” within the meaning of N.Y. Lab. Law §

220 et seq.

         119.   Throughout their employment, Plaintiffs performed work for Defendants on

these projects and pursuant to these contracts.

         120.   Through these contracts, Defendants agreed to pay their employees who

performed work pursuant to these contracts at certain wage rates, which rates were consistent

with the prevailing wage rates applicable to such work (as defined under N.Y. Lab. Law § 220 et

seq.).




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         121.    Accordingly, those Plaintiffs who performed work pursuant to those contracts

were entitled to be paid wages at the contract rates and were the intended third-party

beneficiaries of those contracts.

         122.    Defendants at all relevant times failed to pay Plaintiffs the contracted wage rates

and supplements to which the Plaintiffs were entitled for such work.

         123.    As a result, Defendants are liable to Plaintiffs for all unpaid and due wages to

which Plaintiffs are entitled.

         WHEREFORE, Plaintiffs demand the following damages and relief:

         a.      Judgment in favor of the Plaintiffs;

         b.      Compensatory damages for all unpaid wages and supplements;

         c.      Appropriate and/or statutory interest;

         d.      Attorneys' fees;

         e.      Costs of suit;

         f.      Any other relief that this Court deems just and equitable.

                                            FIFTH COUNT

                THE NEW JERSEY WAGE PAYMENT LAW (“NJ WAGE PAYMENT LAW”)
                            THE NEW JERSEY WAGE AND HOUR LAW

         124.    Plaintiffs repeat and reallege every prior allegation of the within Complaint as if

set forth at length herein.

         125.    Defendants are an “employer” within the meaning of the New Jersey Wage and

Hour law.

         126.    Plaintiffs are “employees” within the meaning of the New Jersey Wage and Hour

Law.

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       127.   N.J.S.A. 34:11-56a4 and N.J.A.C. 12:56-13.3 require Defendants to pay for all

hours worked and to compensate all non-exempt employees at a rate no less than one and

one-half (1.5) times the regular rate of pay for work performed in excess of forty (40) hours per

work week.

       128.   Defendants failed to pay Plaintiffs overtime wages for hours that they worked in

excess of forty 40 hours in a work week.

       129.   As a result of Defendants’ conduct, Plaintiffs have suffered loss of income and

other damages.

       WHEREFORE, Plaintiffs demand judgment against Defendants for harm suffered as

follows:

       a.     Back pay and benefits;

       b.     Front pay and benefits;

       c.     Compensatory damages;

       d.     Consequential damages;

       e.     Punitive damages;

       f.     Equitable Relief;

       g.     Pre-judgment interest and enhancements to off-set negative tax consequences;

       h.     All attorneys’ fees, expenses and/or costs, including, but not limited to, court

              costs, expert fees and all attorneys’ fees incurred by plaintiffs in the prosecution

              of this suit (including enhancements thereof required to off-set negative tax

              consequences and/or enhancements otherwise permitted under law);

       i.     Declaring that the Defendant ACV has violated the New Jersey Wage and Hour


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               Law and requiring Defendant ACV to take appropriate corrective action to end

               unlawful wage payment violations; and

       j.      Such other and further relief as may be available pursuant to the New Jersey

               Wage and Hour Law and which the Court deems just and equitable.

                                          SIXTH COUNT

                            FAILURE TO PAY OVERTIME WAGES
                 FAIR LABOR STANDARDS ACT (“FLSA”), 29 U.S.C. § 201 et seq.

       130.    Plaintiffs repeat and reallege every prior allegation of the within Complaint as if

set forth at length herein.

       131.    Plaintiffs worked more than forty hours in one or more workweeks.

       132.    Because Defendants paid Plaintiffs straight time for hours worked in excess of 40

hours per workweek, Defendants did not pay Plaintiffs at least one and a half times their

normal hourly rate for time worked in excess of forty hours per workweek.

       133.    By failing to pay Plaintiffs their proper overtime wages, despite acknowledging

that Plaintiffs were eligible for overtime pay, Defendants have willfully violated the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).

       134.    Defendant ACV engaged in, participated in, condoned, ratified, perpetuated

and/or aided and abetted violation of the FLSA.

       135.    As a result of Defendants’ willful violations, Plaintiffs are entitled to damages,

including, but not limited to, unpaid wages, unreimbursed expenses, liquidated damages, costs,

and attorneys’ fees.

       WHEREFORE, Plaintiffs demand judgment against Defendants for harm suffered as

follows:

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       a.     Compensatory damages;

       b.     Consequential damages;

       c.     Punitive damages;

       d.     Pre-judgment interest and enhancements to off-set negative tax consequences;

       e.     All attorneys’ fees, expenses and/or costs, including, but not limited to, court

              costs, expert fees and all attorneys’ fees incurred by Plaintiff in the prosecution

              of this suit (including enhancements thereof required to off-set negative tax

              consequences and/or enhancements otherwise permitted under law);

       f.     Such other and further relief as may be available pursuant to the FLSA.


                                                   SMITH EIBELER, LLC

                                            BY:    /s/Robert W. Smith
Dated: December 19,2019                            ROBERT W. SMITH, ESQ.



                                                   ZATUCHNI & ASSOCIATES, LLC

                                            BY:    /s/David Zatuchni
Dated: December 19, 2019                           DAVID ZATUCHNI, ESQ.
                                                   Attorneys for Plaintiffs


                                        CERTIFICATION

       Pursuant to Rule 4:5-1, it is hereby stated to the best of my knowledge and belief that

the matter in controversy is not the subject of any other action pending or contemplated in any

other court or of a pending arbitration proceeding. Further, Plaintiffs are unaware of any non-

party who should be joined in the action pursuant to R. 4:28 or who is subject to joinder

pursuant to R. 4:29-1(b) because of potential liability to any party on the basis of the same

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transactional facts. I further certify that confidential personal identifiers have been redacted

from documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                      SMITH EIBELER, LLC


                                              By:     /s/Robert W. Smith
Dated: December 19, 2019                              ROBERT W. SMITH, ESQ.
                                                      Attorneys for Plaintiffs



                                          JURY DEMAND

       Plaintiffs hereby demand trial by jury on all issues so triable.

                                                      SMITH EIBELER, LLC


                                              By:     /s/Robert W. Smith
                                                      ROBERT W. SMITH
                                                      Attorneys for Plaintiffs

Dated: December 19, 2019



                                DESIGNATION OF TRIAL COUNSEL

       Pursuant to Rule 4:25-4, David Zatuchni, Esq. is designated as trial counsel for the

above-captioned matter.

                                                      SMITH EIBELER, LLC


                                              By:     /s/Robert W. Smith
                                                      ROBERT W. SMITH
                                                      Attorneys for Plaintiffs
Dated: December 19, 2019

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                        Civil Case Information Statement
Case Details: UNION | Civil Part Docket# L-004384-19

Case Caption: PEREZ KEVIN VS CLEAN VENTURE, INC.                 Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
Case Initiation Date: 12/19/2019                                 Document Type: Complaint with Jury Demand
Attorney Name: ROBERT W SMITH                                    Jury Demand: YES - 6 JURORS
Firm Name: SMITH EIBELER LLC                                     Is this a professional malpractice case? NO
Address: 101 CRAWFORDS CORNER RD STE 1-105R                      Related cases pending: NO
HOLMDEL NJ 07733                                                 If yes, list docket numbers:
Phone: 7329357246                                                Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : PEREZ, KEVIN                          transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged? NO
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

12/19/2019                                                                                           /s/ ROBERT W SMITH
Dated                                                                                                             Signed
     UNN-L-004384-19 12/27/2019 11:30:50 AM Pg 1 of 1 Trans ID: LCV20192379670
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               UNN L 004384-19 12/20/2019 4:52:53 AM Pg 1 of 1 Trans ID: LCV20192345030
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UNION COUNTY SUPERIOR COURT
2 BROAD STREET
CIVIL DIVISION
ELIZABETH        NJ 07207
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (908) 787-1650
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   DECEMBER 19, 2019
                              RE:     PEREZ KEVIN VS CLEAN VENTURE, INC.
                              DOCKET: UNN L -004384 19

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON ALAN G. LESNEWICH

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      002
AT:   (908) 787-1650.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: ROBERT W. SMITH
                                             SMITH EIBELER LLC
                                             101 CRAWFORDS CORNER RD
                                             STE 1-105R
                                             HOLMDEL           NJ 07733

ECOURTS
      UNN-L-004384-19 01/02/2020 12:43:22 PM Pg 1 of 1 Trans ID: LCV20204573
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      UNN-L-004384-19 01/02/2020 12:44:59 PM Pg 1 of 1 Trans ID: LCV20204592
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      UNN-L-004384-19 01/02/2020 12:46:16 PM Pg 1 of 1 Trans ID: LCV20204604
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